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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                              Case No. 22-10910-SHL
 INC., 1
           Debtor.


     SUMMARY COVER SHEET TO THE SECOND AND FINAL APPLICATION FOR
     ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
       ISLAND CAPITAL ADVISORS LLC AS CO-FINANCIAL ADVISOR TO THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM AUGUST 8, 2022 THROUGH AUGUST 21, 2023

          In accordance with the Local Rules for the Southern District of New York, Island Capital

Advisor LLC (the "Firm"), co-financial advisor for the Official Committee of Unsecured

Creditors (the "Committee") for the above-captioned debtor and debtor in possession (the

"Debtor"), submits this summary (this "Summary") of fees and expenses sought as actual,

 reasonable, and necessary in the second and final fee application to which this Summary is

 attached (the "Application") 2 for the period from August 8, 2022 through August 21, 2023.


          The Firm submits the Application as a final fee application in accordance with the Order

 Pursuant to 11 U.S.C. §§ 105(A) and 331 Establishing Procedures/or Monthly Compensation

 and Reimbursement of Expenses of Professionals dated and entered August 12, 2022 [Docket

 No. 125] (the "Interim Compensation Order").



 Name of applicant                                               Island Capital Advisor LCC

 Name of client                                                  Official Committee of Unsecured Creditors

 1The last four digits of the Debtor's federal tax identification number are 6792. The Debtor's mailing address is 250

 Bradhurst Avenue, New York, New York I0039.
 2 Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such terms
 in the Application.



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Time period covered by this application                     Final Application Period: August 8, 2022 through
                                                            August 21, 2023



                                                            Second Interim Period: $9,9 I 3 .00
                                                            Final Application Period: $65,397.00
Total compensation sought
                                                            Total Discount Amount (15% per Plan): $9,809.55
                                                            Compensation Sought, net of discount: $103.45

Petition date                                               June 29, 2022

Retention date                                              Effective as of August 8, 2022

Date of order approving employment                          December 29, 2022

Total compensation approved by interim order to date        First Interim Period: $55,484

Total allowed compensation paid to date                     $55,484

                                                            Second Interim Period: $780.45
 Blended rate in this application for all timekeepers
                                                            Final Application Period: $781 .24
Compensation sought in this Application already
paid pursuant to a monthly compensation order               $0
but not vet allowed
                                                            Second Interim Period: 3
 Number of professionals included in this application :
                                                            Final Application Period: 3


 This is a:      _Monthly            Interim         ..JL Final Application.

  Dated: October _3 , 2023                   ISLAND CAPITAL ADVISOR LLC

                                             Isl Robert C. Lieber
                                             Robert C. Lieber
                                             717 Fifth Avenue
                                             18 111 Floor
                                             New York, NY 10022
                                             212-705-5050
                                             Emails: rlieber@islecap.com

                                             Co-Financial Advisor to the Official Committee of
                                             Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORI(

 In re:                                                         Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                              Case No. 22-10910-SHL
 INC.,3
           Debtor.


                 SECOND AND FINAL APPLICATION OF
            ISLAND CAPITAL ADVISOR LLC FOR ALLOWANCE
     OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
 REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED AS CO-
 FINANCIAL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
       THE PERIOD FROM AUGUST 8, 2022 THROUGH AUGUST 21, 2023

          Island Capital Advisor LLC (the "Firm"), co-financial advisor for the Official

 Committee of Unsecured Creditors (the "Committee") of the debtor and debtor in possession in

 the above-captioned case (the "Debtor"), hereby submits its second and final fee application (the

 "Application") for the period from August 8, 2022 through August 21, 2023 (the "Final

 Application Period") in accordance with the Order Pursuant to 11 US.C. §§ 105(A) and 331

 Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of

 Professionals dated and entered August 12, 2022 [Docket No. 125] (the "Interim Compensation

 Order").


          In support of the Application, the firm submits the declaration of Robert C. Lieber,

 attached hereto as Exhibit A and incorporated herein by reference. In further support of the

 Application, the Firm respectfully states as follows:



 The last four digits of the Debtor's federal tax identification number are 6792. The Debtor's mailing address is 250
 3

 Bradhurst Avenue, New York, New York 10039.




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                                     Preliminary Statement

               1.      The Finn requests (a) interim and final allowance of compensation in the

amount of $9,913 for fees on account ofreasonable and necessary professional services rendered

for the period from March 1, 2023 through August 21, 2023 (the "Second Interim Period"), (b)

final allowance of compensation in the amount of $65,397 for fees on account of reasonable and

necessary professional services rendered for the period August 8, 2022 through August 21, 2023

(the "Final Application Period"). The Firm reserves the right to supplement this Application

prior to the hearing thereon to include a request for fees and costs in connection with the

preparation and prosecution of the Application.

                                Jurisdiction and Basis for Relief

               2.       The United States Bankruptcy Comt for the Southern District of New

 York (the "Court") has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

 matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

               3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               4.       The bases for the reliefrequested in this Application are sections 330 and

 331 of title 11 of the United States Code, 11 U.S.C . §§ 101 et seq. (the "Bankruptcy Code"),

 Rule 2016 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), Rule 2016-

 l(a) of the Local Rules for the Southern District of New York (the "Local Rules"), the Amended

 Guidelines for Fees and Disbursements for Professionals in Southern District of New York

 Bankruptcy Cases (the "Local Guidelines"), and the Interim Compensation Order.

                                            Background

                5.      On June 29, 2022 (the "Petition Date"), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business




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and managing its properties as debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in this case.

                6.      On July 13, 2022, the Office of the United States Trustee (the "UST")

appointed the Committee pursuant to section 1102 of the Bankruptcy Code. See Notice of

Appointment ofOJJicial Committee of Unsecured Creditors [Docket No. 53].

                7.       On August 12, 2022, the Court entered the Interim Compensation Order,

 which sets forth the procedures for interim compensation and reimbursement of expenses for all

 retained professionals in these cases.

 A.     The Firm's Retention

                8.       On July 16, 2022, the Committee selected the Firm and Dundon Advisers

 LLC as its financial advisors in this case. On November 15, 2022, the Committee filed The

 Official Comm Wee of Unsecured Creditors' Application to Retain and Employ Island Capital

 Advisor LLC (the "Retention Application") [Docket No. 291]. On December 29, 2022, the Court

 entered an Order Authorizing and Approving the Employment of Island Capital Advisor LLC (the

 "Retention Order") [Docket No. 331]. The Retention Order authorized the Firm to be

 compensated on an hourly basis, and to be reimbursed for actual and necessary out-of-pocket

 expenses

 B.      Compensation Paid and Its Source (pull language from prior fee app)

                 9.      All services for which the Firm requests compensation were performed for

 or on behalf of the Committee. The Finn has received no payment and no promises for payment

 from any source other than the Debtor for services rendered or to be rendered in any capacity

 whatsoever in connection with the matters covered by this Application. There is no agreement or

 understanding between the Firm and any other person besides the Firm's partners for the sharing




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of compensation to be received for services rendered in this case. The Firm has not received a

retainer in this case.

                         Statement of Services Rendered and Time Expended

                10.       Pursuant to the Local Guidelines, the Firm has classified all services it has

 performed for which compensation is sought for the Application Period into one of several major

 categories. The Firm attempted to place the services performed in the category that best relates to

 the service provided. However, because certain services may relate to one or more categories,

 services pertaining to one category may be included in another category.

                 11.      Exhibit B sets forth a timekeeper summary that includes the name, job

 title, standard hourly billing rate, total hours billed, and total compensation for each Firm

 professional and paraprofessional who provided services to the Committee during the

 Application Period.

                 12.      Exhibit C sets forth a task code summary that includes the aggregate

 hours per task code spent by the Firm's professionals and paraprofessionals in rendering services

 to the Committee during the Application Period.

        Services Rendered and Disbursements Incurred During the Application Period

 C.     Business Analysis

                 13.       Time billed to this category relates to work regarding assisting in the

 analysis, review, and monitoring of the restructuring process, including, but not limited to,

 developing a complete understanding of the Debtor's operations, activities, assets, and such

 assets' valuations, especially the Debtor's real estate assets to enable the Firm to determine if any

 asset sales or financings may be available to resolve liabilities of the Debtor.

                           Fees:   $38,788:       Hours: 49.9




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D.      Investigations

                14.      Time billed to this category related determining whether there are viable

alternative paths for the disposition of the Debtor's assets (e.g., restructuring, sale) from those

proposed by the Debtor, especially with the regard to the planned disposition of real estate assets

and how the timing or proceeds from any potential sale impacted the broader restructuring plan.

                         Fees: $11,326:                Hours: 14.5

E.      Retention and Fee Applications

                15.      Time billed to this category relates to keeping track of time entries and

 submitting retention and fee applications.

                         Fees: $6,657:          Hours: 8.7

 F.     Committee Member/Professional Meetings & Communications

                16.      Time billed to this category relates to attending meetings and assisting in

 discussions with the Committee, Committee counsel, the Debtor, lenders and other financing

 parties, mediators, the U.S. Trustee, and other parties in interest and professionals and presenting

 at meetings of the Committee, as well as meetings with other key stakeholders and parties.

                         Fees: $8,626;          Hours: 10.9

                17.      The nature of work performed by the Firm is fully set forth in Composite

 Exhibit D. The reasonable and standard value of the services the Finn rendered for and on

 behalf of the Committee during the Application Period is $65,397. Accordingly, the Firm seeks

 to be compensated $65,397 for the fees incurred during the Application Period.

                18.      In accordance with the factors enumerated in section 330 of the

 Bankruptcy Code, it is respectfully submitted that the fee amount for which the Firm requests to

 be compensated by this Application is fair and reasonable given (a) the complexity of the case,

 (b) the time the Finn's professionals and paraprofessionals have expended, (c) the nature and




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extent of the services rendered, (d) the value of such services, and (e) the costs of comparable

services other than in a case under the Bankruptcy Code. Moreover, the Finn believes that this

Application complies with the Local Rules, the Local Guidelines, and the Interim Compensation

Order.

                                       Reservation of Rights

                19.    It is possible that some professional time expended or expenses that the

Firm incurred during the Final Application Period are not reflected in this Application. The Firm

 reserves the right to file a supplemental fee application to submit additional fees and expenses

 not previously included in the Application but incurred prior to the date of the hearing on the

 Application.

                                                Notice

                20.     Pursuant to the Interim Compensation Order, the Application has been

 served upon: (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250 Bradhurst Avenue,

 New York, New York 10039 (Attn.: Mr. Tim McChristian); (b) Debtor' s counsel: Paul, Weiss,

 Rifldnd, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019

 (Attn.: Alan W. Kornberg, Esq.; Andrew M. Parlen, Esq.; John T. Weber, Esq.; and Shafaq

 Hasan, Esq.); and (c) William K. Harrington, United States Trustee for Region 2, U.S .

 Department of Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York,

 New Yark 10014 (Attn.: Andrea B. Schwartz, Esq., and Tara Tiantian, Esq). The Firm submits

 that, in light of the nature of the relief requested, no other or further notice need be provided.

                                          No Prior Request

                21.     No prior application for the relief requested in this Application has been

 made to this or any other court.




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               WHEREFORE, the Firm respectfully requests that this Court enter an order:

(a) allowing on an interim and final basis compensation in the amount of $9,913 for reasonable

and necessary professional services rendered during the Second, (ii) allowing on a final basis

compensation in the amount of $65,397 for reasonable and necessary professional services

rendered for the Final Application Period and (b) granting any other relief that this Court deems

necessary and appropriate.
                "1.,
 Dated: October L, 2023


                                        Robert C. Lieber
                                        717 Fifth Avenue
                                        18 111 Floor
                                        New York, NY 10022
                                        212-705-5050
                                        Emails: rlieber@islecap.com

                                        Co-Financial Advisor to the Official Committee of
                                        Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORI(

 In re:                                                         Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                              Case No. 22-10910-SHL
 INC., 1
           Debtor.


           ORDER GRANTING SECOND AND FINAL APPLICATION OF
             ISLAND CAPITAL ADVISOR LLC FOR ALLOWANCE
     OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AS CO-
     FINANCIAL ADVISOR FOR THE OFFICIAL COMMITTEE OF UNSECURED
                             CREDITORS
       FOR THE PERIOD FROM AUGUST 8, 2022 THROUGH AUGUST 21, 2023


                  This matter came before the Court on the Second and Fh1Ctl Application ofIsland

 Capital Advisor/or Interim and Final Allowance of Compensation for Professional Services

 Rendered as Co-Financial Advisor for the Official Committee of Unsecured Creditors of the

 Debtor for the Period from August 8, 2022 through August 21, 2023 [Docket No._] (the

 "Application"), filed by Island Capital Advisor LLC (the "Firm"), Co-Financial Advisor for the

 Official Committee of Unsecured Creditors. In the Application, the Firm requests that the Court:

 (a) allow on an interim and final basis compensation in the amount of $9,913 for reasonable and

 necessary professional services rendered and reimbursement of actual for the Second Interim

 Period, (ii) allow on a final basis compensation in the amount of $65,397 for reasonable and

 necessary professional services rendered for the Final Application Period and (b) granting any

 other relief that this Court deems necessary and appropriate.




 1The last four digits of the Debtor's federal tax identification number are 6792. The Debtor's mailing address is 250

 Brndhurst Avenue, New York, New York 10039.



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       The Court, having considered the Application and notice of the Application appearing

adequate, determines that the Application should be, and hereby is GRANTED . Accordingly,

               IT IS THEREFORE ORDERED as follows:

        1.     The Application is GRANTED as set forth herein.

        2.     The Firm's compensation for professional services rendered during the Second

Interim Period is allowed on an interim and final basis in the amount of $9,913.

        3.     The Finn's compensation for professional services rendered during the Final

Application Period is allowed on a final basis in the amount of $65,397.

        4.     This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Order.

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                     EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                           Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                                Case No. 22-10910-SHL
 INC., 1
           Debtor.


     DECLARATION OF ROBERT C. LIEBER IN SUPPORT OF SECOND AND FINAL
      APPLICATION OF ISLAND CAPITAL ADVISOR LLC FOR ALLOWANCE OF
        COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AS CO-
      FINANCIAL ADVISOR FOR THE OFFICIAL COMMITTEE OF UNSECURED
                               CREDITORS
        FOR THE PERIOD FROM AUGUST 8, 2022 THROUGH AUGUST 21, 2023


                    I, Robert C. Lieber, declare under penalty of pe1jury pursuant to 28 U.S.C. § 1746

 and pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016-l(a) of

 the Local Rules for the Bankruptcy Court for the Southern District of New York that the

 following is true and correct:

                     1.         I am a Principal at Island Capital Advisor LLC (the "Firm"),2 with an

 office located at 717 Fifth A venue, 18 111 Floor, New Yark, NY 10022

                     2.         I have personally reviewed the information contained in the Application,

 and believe its contents to be true and correct to the best of my knowledge, information, and

 belief. In addition, I believe that the Application complies with the Local Rules for the Southern

 District of New York, the Amended Guidelines.for Fees and Disbursements for Professionals in

 Southern District of New York Bankruptcy Cases, and the Order Pursuant to 11 U.S.C. §§ 105(A)




 1The last four digits of the Debtor's federal tax identification number are 6792. The Debtor's mailing address is 250
 Bradhurst Avenue, New York, New York 10039.
 2   Capitalized terms not defined herein shall have the snme meaning ascribed to them in the Fee Application.



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and 331 Establishing Procedures.for Monthly Compensation and Reimbursement of Expenses of

Professionals dated and entered August 12, 2022 [Docket No. 125].


               Executed this 1,f-X"da1 of October, 2023 at _ _ _ _ _ _ , New York.
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                     EXHIBIT B
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                                             EXHIBITB

                                        Timekeeper Summary
                       (Second Interim Period: March 1, 2023 - August 21, 2023)

                                         STANDARD      TOTAL
    NAME OF
                           TITLE          HOURLY       HOURS      TOTAL COMPENSATION
  PROFESSIONAL
                                          RATE($)      BILLED
Robert Lieber       Principal               $850            1.6                      $1 ,360
George Carleton     Principal               $850            1.3                      $1 ,105
Steven Landgraber   Managing Director       $760            9.8                      $7,448




                                         Timekeeper Summary
                      (Final Application Period: August 8, 2022 - August 21, 2023


                                        STANDARD       TOTAL
    NAME OF
                          TITLE          HOURLY        HOURS      TOTAL COMPENSATION
  PROFESSIONAL
                                         RATE($)       BILLED
Robert Lieber       Principal              $850              10                      $7,565
George Carleton     Principal              $850             9.4                      $7,140
Steven Landgraber   Managing Director      $760            66.7                     $50,692
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                     EXHIBIT C
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                                                              EXHIBITC

                                                        Task Code Summary
                                       (Second Interim Period: March 1, 2023 - August 21, 2023)

                     Description                   Hours                 Amount
      Committee Member/Professional
                                                            4.8                      $3,648
      Meetings & Communications
      Business Analysis                                     7.9                      $6,265




                                                          Task Code Summary
                                      (Final Application Period: August 8, 2022 - August 21, 2023)

                    Description                    Hours                 Amount
      Committee Member/Professional
                                                           10.9                      $8,626
      Meetings & Communications
      Business Analysis                                    49.9                     $38,788
      Retention and Fee application                         8.7                      $6,657
      Investigations                                       14.5                     $11,326




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                     EXHIBIT D
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Staff               Date          Description                                                                                   Task                                                      Hours             Rate                Fee
                                                                                 -                                                                                                                -                                         ---
George Carleton       08/ 11/2022 Kick off call with Dundon Advisers and Teneo                                                  Committee Member/Professional Meetings & Communications               1.0          $850.00/hr           $850.00
George Carleton      08/ 11/2022 Preparation & Review oflnformation Request List                                                Business Analysis                                                     1.0          $850.00/hr           $850.00
Robert Lieber         08/ 11/2022 Kick off Call with Dundon Advisers and Teneo                                                  Committee Member/Professional Meetings & Communications               1.0          $850.00/hr           $850.00
Robert Lieber         08/1 1/2022 Review of Information Request List                                                            Business Analysis                                                     0.3          $850.00/hr           $255.00
Steven Landgraber     08/ 11/2022 Kick off Call with Teneo (Robin Chiu and Dan Finnegan) and Dundon (Tabish Rizvi and           Committee Member/Professional Meetings & Communications               1.0          $760.00/hr           $760.00
                                  Michael Whelan)
Steven Landgraber     08/1 1/2022 Review of Information Request List                                                            Business Analysis                                                     0.3          $760.00/hr           $228.00
Steven Landgrabcr     08/ 17/2022 Draft retention Papers                                                                        Retention and Fee Applications                                        2.4          $760.00/hr         $1,824.00
Steven Landgraber     08/ 18/2022 Draft retention Papers                                                                        Retention and Fee Applications                                        0.6          $760.00/hr          $456.00
Robert Lieber         08/22/2022 Weekly Committee Call                                                                          Business Analysis                                                     0.8          $850.00/hr           $680.00
Steven Landgraber     08/22/2022 Weekly Committee Call                                                                          Business Analysis                                                     0.8          $760.00/hr           $608.00
Steven Landgraber     08/24/2022 Review ofreal estate related data room files                                                   Investigations                                                        0.5          $760.00/hr           $380.00
Steven Landgraber     08/26/2022 Call with creditor committee counsel                                                           Business Analysis                                                     1.0          $760.00/hr           $760.00
George Carleton       08/29/2022 Catch up call with internal team and Dundon Advisers                                           Business Analysis                                                     0.3          $850.00/hr           $255.00
Robert Lieber         08/29/2022 Catch up call with internal Island team and Dundon Advisers                                    Business Analysis                                                     0.3          $850.00/hr           $255.00
Steven Landgraber     08/29/2022 Internal call with Tabish Rizvi and Michael Whalen                                             Business Analysis                                                     0.3          $760.00/hr           $228.00
Steven Landgrabcr     08/29/2022 Diligence call with Teneo                                                                      Investigations                                                        1.0          $760.00/hr           $760.00
Steven Landgrabcr     08/29/2022 Work with Bob Lieber and George Carleton regarding real estate appraisals with focus on Navy   Business Analysis                                                     0.8          $760.00/hr           $608.00
                                 Yard
George Carleton       09/05/2022 Inspect Navy yard asset                                                                        Investigations                                                        2.0          $850.00/hr         $1 ,700.00
Steven Landgraber     09/06/2022 Internal call with Tabish Rizvi to review budget and DIP motion                                Business Analysis                                                     0.7          $760.00/hr           $532.00
Steven Landgraber     09/08/2022 Internal call with Tabish Rizvi and PSZJ (Gillian Brown)                                       Business Analysis                                                     0.7          $760.00/hr           $532 .00
Steven Landgraber     09/12/2022 Weekly Committee Call                                                                          Business Analysis                                                     1.0          $760.00/hr           $760.00
Steven Landgraber     09/13/2022 Call with creditor and debtor professionals to DIP motion                                      Investigations                                                        0.6          $760.00/hr           $456.00
Robert Lieber         09/1 6/2022 Call on MSBGC Retention                                                                       Retention and Fee Applications                                        0.5          $850.00/hr           $425.00
Steven Landgraber     09/ 16/2022 Retention discussion with Dundon and PSZJ                                                     Retention and Fee Applications                                        0.5          $760.00/hr           $380.00
Steven Landgraber     09/19/2022 Weekly Committee Call                                                                          Business Analysis                                                     1.4          $760.00/hr         $1,064.00
Steven Landgraber     09/26/2022 Weekly Committee Call                                                                          Business Analysis                                                     1.7          $760.00/hr         $1,292.00
Steven Landgraber     10/03/2022 Weekly Committee Call                                                                          Business Analysis                                                     0.9          $760.00/hr          $684.00
Robert Lieber         10/06/2022 Mediation Session                                                                              Committee Member/Professional Meetings & Communications               1.8          $850.00/hr         $1 ,530.00
Steven Landgraber     I 0/06/2022 Mediation Session - listen to initial discussion and proposal                                 Investigations                                                        0.7          $760.00/hr          $532.00
Steven Landgraber     10/06/2022 Discussion with Dundon (Tabish and Whelan) re: counterproposal                                 Business Analysis                                                     1.1          $760.00/hr          $836.00
Steven Landgraber     10/ 10/2022 Discussion with Dundon (Tabish and Whelan) re: liquidation analysis                           Business Analysis                                                     0.5          $760.00/hr          $380.00
Steven Landgraber     10/ 10/2022 Internal call with Dundon and PSZJ re: liquidation analysis                                   Business Analysis                                                     0.7          $760.00/hr          $532.00
Steven Landgraber     10/ 10/2022 Weekly Committee Call                                                                         Business Analysis                                                     1.7          $760.00/hr         $1,292.00
Steven Landgraber     10/ 17/2022 Weekly Committee Call                                                                         Business Analysis                                                     1.3          $760.00/hr          $988.00
Steven Landgraber     10/ 18/2022 Review ofrevised settlement proposal and discuss Navy Yard prospects with Bob Lieber          Business Analysis                                                     0.5          $760.00/hr          $380.00
Steven Landgraber     10/1 9/2022 Zoom call with mediator and bring-down on committee                                           Investigations                                                        1.5          $760.00/hr         $1 ,140.00
Steven Landgraber     10/ 19/2022 Email exchange with Teneo to organize DIP discussion                                          Investigations                                                        0.1          $760.00/hr            $76.00
Steven Landgrabcr     10/20/2022 Review of Carver loan term sheet                                                               Business Analysis                                                     0.7          $760.00/hr          $532.00
Steven Landgraber     I 0/20/2022 Call with Teneo (Robin Chiu and Dan Finnegan) and Dundon (Tabish and Whelan) re: DIP          Investigations                                                        0.5          $760.00/hr          $380.00
Steven Landgraber     10/24/2022 Emails with PSZJ and Dundon re: Navy Yard and DIP                                              Business Analysis                                                     0.4          $760.00/hr          $304.00
Steven Landgraber     10/24/2022 Discussion with Dundon (Tabish and Whelan) re: Navy Yard                                       Investigations                                                        0.3          $760.00/hr          $228.00
Steven Landgraber     I 0/24/2022 Weekly Committee Call                                                                         Business Analysis                                                     1.1          $760.00/hr          $836.00
Steven Landgraber    10/25/2022 Call with Tcnco (Robin Chiu and Dan Finnegan) and Dundon (Tabish and Whelan) re: DIP            Investigations                                                        1.0          $760.00/hr          $760.00
Steven Landgraber    10/25/2022 Review Cushman BOV ofNavy Yard                                                                  Investigations                                                        0.7          $760.00/hr          $532.00
Steven Landgraber    10/25/2022 Internal call with Dundon and PSZJ re: DIP and Navy Yard                                        Business Analysis                                                     0.7          $760.00/hr          $532.00
George Carleton      10/26/2022 Review Navy yard BOV                                                                       Business Analysis                                                          0.3          $850.00/hr          $255.00
Steven Landgraber    10/26/2022 Call with Committee Counsel, Dundon and Plaintiff Counsel to discuss DIP/Navy Yard/counter Business Analysis                                                          0.9          $760.00/hr          $684.00
                                orooosal
George Carleton      10/27/2022 Review new Navy yard appraisal                                                             Business Analysis                                                          0.5          $850.00/hr          $425.00
George Carleton      10/27/2022 !CG discussion of Navy Yard valuation (Carleton/Lieber/Landgraber)                              Business Analysis                                                     0.5          $850.00/hr          $425.00
Robert Lieber        10/27/2022 Review ofNavy Yard Appraisal and BOV                                                            Business Analysis                                                     0.6          $850.00/hr          $510.00
Robert Lieber        10/27/2022 !CG discussion ofNavy Yard valuation (Carlcton/Lieber/Landgraber                                Business Analysis                                                     0.5          $850.00/hr          $425.00
Steven Landgraber    10/27/2022 Review Bowery BOV ofNavy Yard                                                                   Business Analysis                                                     0.5          $760.00/hr          $380.00
Steven Landgraber    10/27/2022 !CG discussion ofNavy Yard valuation (Carleton/Lieber/Landgraber)                               Business Analysis                                                     0.5          $760.00/hr          $380.00
Steven Landgraber    10/27/2022 Call with Committee Counsel, Dundon and Plaintiff Counsel to discuss DIP/Navy Yard/counter      Business Analysis                                                     0.6          $760.00/hr          $456.00
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Steven Landgraber   10/27/2022 Follow up call with John Lucas (PSZJ)                              Pg 21 of 21
                                                                                                            Committee Member/Professional Meetings & Communications 0.2                        $760.00/hr     $152.00
Steven Landgraber   10/31/2022 Weekly Committee Call                                                                          Business Analysis                                          1.3   $760.00/hr     $988.00
Steven Landgraber   11/04/2022 Call with Teneo (Robin Chiu and Dan Finnegan) and Dundon (Tabish and Whelan) re: 13-week Business Analysis                                                1.2   $760.00/hr     $912.00
                               cash flow forecast
Steven Landgraber   11/04/2022 Provide initial review of creditor FA extended liquidity case.                           Business Analysis                                                0.4   $760.00/hr     $304.00
Steven Landgraber   11/05/2022 All hands advisor call re: 13-week cash flow forecast                                    Business Analysis                                                1.0   $760.00/hr     $760.00
Steven Landgraber   11/07/2022 Weekly Committee Call                                                                          Business Analysis                                          1.3   $760.00/hr     $988.00
Steven Landgraber   11/ 14/2022 Retention Papers                                                                              Retention and Fee Applications                            0.2    $760.00/hr     $152.00
Steven Landgraber   11/ 14/2022 Weekly Committee Call                                                                         Business Analysis                                         0.8    $760.00/hr     $608.00
Steven Landgraber   11/ 17/2022 Review revised debtor proposal                                                                Business Analysis                                         0.4    $760.00/hr     $304.00
Steven Landgraber   11/18/2022 Call with state court counsel, PSZJ and Dundon to discuss revised proposal                     Business Analysis                                         1.0    $760.00/hr     $760.00
Steven Landgraber   11/ 18/2022 Call with committee members, state court counsel, PSZJ and Dundon to discuss revised proposal Business Analysis                                         1.0    $760.00/hr     $760.00

Steven Landgraber   11/22/2022 Call with Tabish@ Dundon                                                                       Business Analysis                                         0.2    $760.00/hr     $152.00
Steven Landgraber   12/05/2022 Weekly Committee Call                                                                          Business Analysis                                         1.3    $760.00/hr     $988.00
George Carleton     12/08/2022 Preparation & Review oflnformation Request List                                                Business Analysis                                         0.5    $850.00/hr     $425.00
Robert Lieber       12/08/2022 Preparation & Review oflnformation Request List                                                Business Analysis                                         0.5    $850.00/hr     $425.00
Steven Landgraber   12/08/2022 Internal Island Call regarding Navy Yard Structure                                             Business Analysis                                         0.5    $760.00/hr     $380.00
Steven Landgraber   12/12/2022 Weekly Committee Call                                                                          Business Analysis                                         0.8    $760.00/hr     $608.00
Steven Landgraber   12/12/2022 Review ofretention and fee applications prepared by Dundon Advisers                            Retention and Fee applications                            1.0    $760.00/hr     $760.00
Steven Landgraber   12/15/2022 Call with state court counsel.                                                                 Business Analysis                                         1.0    $760.00/hr     $760.00
Steven Landgraber   01/03/2023 Call with state court counsel re: Trustee selection and distributions.                         Committee Member/Professional Meetings & Communications   0.8    $760.00/hr     $608.00
Steven Landgraber   01/05/2023 Organize Island-Cushman call.                                                                  Committee Member/Professional Meetings & Communications   0.3    $760.00/hr     $228.00
Steven Landgraber   01/05/2023 Participated on call with Teneo, and Dundon discussing cash bridge and potential excess cash   Investigations                                            0.8    $760.00/hr     $608.00
                                contributions.
Steven Landgraber   01/05/2023 UCC call interviewing potential LTs and discussing settlement                                  Investigations                                            2.2    $760.00/hr   $1,672.00
Steven Landgraber   01/06/2023 Island-Cushman call regarding CW creds and disposition plan.                                   Investigations                                            0.7    $760.00/hr     $532.00
George Carleton     01/06/2023 Island-Cushman call regarding CW ereds and disposition plan.                                   Investigations                                            0.7    $850.00/hr     $595.00
Robert Lieber       01/06/2023 Island-Cushman call regarding CW creds and disposition plan.                                   Investigations                                            0.7    $850.00/hr     $595.00
Steven Landgraber   01 /06/2023 Internal Island Call regarding CW and Navy Yard                                               Business Analysis                                         0.3    $760.00/hr     $228.00
George Carleton     01/06/2023 Internal Island Call regarding CW and Navy Yard                                                Business Analysis                                         0.3    $850.00/hr     $255.00
Robert Lieber       01/06/2023 Internal Island Call regarding CW and Navy Yard                                                Business Analysis                                         0.3    $850.00/hr    $255.00
Steven Landgraber   01/09/2023 Review of cash forecast with Dundon and Teneo team.                                            Investigations                                            0.5    $760.00/hr    $380.00
Steven Landgraber   01 /09/2023 UCC call discussing cash forecast and recommending CW to lead Navy Yard disposition           Business Analysis                                         1.1    $760.00/hr    $836.00
                                 process.
Steven Landgraber   01 / 12/2023 Call with Dundon, State Court Counsel and PSZJ.                                              Business Analysis                                         0.9    $760.00/hr    $684.00
Steven Landgraber   02/14/2023 Prepare fee apps.                                                                              Retention and Fee applications                            1.5    $760.00/hr   $1, 140.00
Steven Landgraber   02/ 16/2023 Prepare fee apps.                                                                             Retention and Fee applications                            2.0    $760.00/hr   $1,520.00
Steven Landgraber   03/09/2023 Update call with Dundon and PSZJ.                                                              Committee Member/Professional Meetings & Communications   0.5    $760.00/hr    $380.00
Steven Landgraber   05/ 18/2023 Court hearing regarding fee apps                                                              Committee Member/Professional Meetings & Communications   0.5    $760.00/hr    $380.00
Steven Landgraber   05/19/2023 Call with Cushman, Paul Weiss and PSZJ regarding new offers                                    Committee Member/Professional Meetings & Communications   0.5    $760.00/hr    $380.00
Steven Landgraber   05/19/2023 Follow up call with John Lucas at PSZJ                                                         Committee Member/Professional Meetings & Communications   0.2    $760.00/hr    $152.00
Steven Landgraber   05/24/2023 Committee Call                                                                                 Committee Member/Professional Meetings & Communications   0.5    $760.00/hr    $380.00
Steven Landgraber   05/30/2023 Committee Call                                                                                 Committee Member/Professional Meetings & Communications   1.0    $760.00/hr    $760.00
Steven Landgraber   06/ 15/2023 Call with Cushman, Paul Weiss and PSZJ regarding new offers                                   Committee Member/Professional Meetings & Communications   0.3    $760.00/hr    $228.00
Steven Landgrabcr   06/20/2023 Discussion of new bids with George Carleton and Bob Lieber                                     Business Analysis                                         0.6    $760.00/hr    $456.00
Robert Lieber       06/20/2023 Discussion ofnew bids with George Carleton and Steve Landgraber                                Business Analysis                                         0.6    $850.00/hr    $510.00
George Carleton     06/20/2023 Discussion ofnew bids with Bob Lieber and Bob Lieber                                           Business Analysis                                         0.6    $850.00/hr    $510.00
Steven Landgraber   07/06/2023 Review ofNavy Yard Counter Bid Matrix                                                          Business Analysis                                         1.1    $760.00/hr    $836.00
Steven Landgraber   07/06/2023 Call with Cushman, Paul Weiss and PSZJ regarding new offers                                    Committee Member/Professional Meetings & Communications   0.3    $760.00/hr    $228.00
Steven Landgraber   07/06/2023 Follow up call with John Lucas at PSZJ                                                         Committee Member/Professional Meetings & Communications   0.1    $760.00/hr     $76.00
Steven Landgraber   07/ 11/2023 Discussion of counterbids with George Carleton and Bob Lieber                                 Business Analysis                                         0.5    $760.00/hr    $380.00
Robert Lieber       07/ 11/2023 Discussion of counterbids with George Carleton and Steve Landgraber                           Business Analysis                                         0.5    $850.00/hr    $425.00
Robert Lieber       07/11/2023 Discussion of counterbids with Bob Lieber and Bob Lieber                                       Business Analysis                                         0.5    $850.00/hr    $425.00
Steven Landgraber   07/ 17/2023 Call with John Lucas at PSZJ regarding Navy Yard bids                                         Committee Member/Professional Meetings & Communications   0.3    $760.00/hr    $228.00
Steven Landgraber   07/25/2023 Email exchange with PSZJ regarding new offer                                                   Committee Member/Professional Meetings & Communications   0.3    $760.00/hr    $228.00
Steven Landgraber   07/26/2023 Email exchange with Paul Weiss and Cushman regarding new offer                                 Committee Member/Professional Meetings & Communications   0.3    $760.00/hr    $228.00
Steven Landgraber   07/27/2023 Review of Navy Yard PSAs and email findings to PSZJ                                            Business Analysis                                         2.1    $760.00/hr   $1,596.00
Steven Landgraber   07/27/2023 Discussion ofPSA and final offer with George Carleton                                          Business Analysis                                         0.7    $760.00/hr    $532.00
George Carleton     07/27/2023 Discussion of PSA and final offer with Steven Landgraber                                       Business Analysis                                         0.7    $850.00/hr    $595 .00


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